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                           UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA

                              SAN FRANCISCO DIVISION




ORACLE AMERICA, INC.                          Case No. CV 10-03561 WHA

              Plaintiff,

     v.


GOOGLE INC.

              Defendant.



                 SUMMARY AND REPORT OF EREZ LANDAU

                    SUBMITTED ON BEHALF OF PLAINTIFF
                          ORACLE AMERICA, INC.




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II.    BACKGROUND AND QUALIFICATIONS
       8.      I graduated from Technion - Israel Institute of Technology as a computer

engineer, and worked as a computer engineer since 1984.

       9.      I have over 25 years of experience in software engineering and performance

optimization. During my career, I have conducted numerous performance measurements,

identified performance bottlenecks, and invented techniques to improve performance.

       10.     Since the Sun Microsystems acquisition, I have worked on developing an

embedded Java virtual machine future architecture, and porting the Java virtual machine to new

platforms. (I will generally refer to the Java virtual machine as the “JVM”.)

       11.     I am qualified to conduct performance benchmark and testing analysis and

analyze the results obtained because I have done performance measurements numerous times

before for internal measurements and for customer specific projects.




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       B.      Devices and Software Distributions
       18.     We selected a single production phone, namely the Android HTC Nexus One.

Here are the specifications and links to the board and operating system platform that we installed

and ran on two Android HTC Nexus One devices: http://www.google.com/phone/detail/nexus-

one.

       19.     The HTC Nexus One is a good test environment because it is representative of a

real Android phone. Memory consumption is not expected to vary between phones and startup

time is expected to stay proportional to other timing on the phone. Under these assumptions it is

expected that the test performed will produce similar results on other Android phones as well.

       C.      Android Sources
       20.     The Android sources that were used to build the Dalvik VM used during these

tests were downloaded by following the Google instructions from this Google URL and

specifying the froyo tag (version 2.2.1) in the git command.

               http://source.android.com/source/downloading.html
               http://source.android.com/source/initializing.html
               $ repo init -u git://android.git.kernel.org/platform/manifest.git -b froyo

               The Android sources were built using the instruction located at this URL:

               http://source.android.com/source/building.html

               http://source.android.com/source/initializing.html
       D.      Applications Tested
       21.     We tested Google standard applications available in the Android repository:

               android.process.acore

               android.process.media

               com.android.bluetooth

               com.android.deskclock

               com.android.email

               com.android.inputmethod.latin

               com.android.launcher



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                 com.android.mms

                 com.android.music

                 com.android.phone

                 com.android.protips

                 com.android.providers.calendar

                 com.android.quicksearchbox

                 com.android.settings

                 com.android.voicedialer

                 com.android.wallpaper

                 com.cooliris.media
       22.       The reason for this selection of applications is these are representative of

applications that Google makes available through the public Android source code repository.

This will allow Google to validate this test on any platform they choose to.

       23.       Of note, the zygote process is the initial virtual machine (“master”) and solely
exists to be cloned as new virtual machine instances for launching a new application.

       24.       The system_server process is also a virtual machine instance but is cloned

somewhat differently. I did not make any source code modifications that would impact

system_server.




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IV.    PERFORMANCE BENCHMARK AND TESTING ANALYSIS OF U.S. PATENT
       NO. 7,426,720

       A.      Overview
       25.     The baseline for these experiments was the Froyo release of Android, pulled from

the Google git repository with the Google repo commands

               $ repo init -u git://android.git.kernel.org/platform/manifest.git -b froyo

               $ repo sync
to initialize and sync from the Google repository. I made two copies of the repository that

contained the Android system: (1) an unmodified copy to serve as a baseline for comparison and

(2) a version with the zygote functionality that Oracle accuses of infringing the ’720 patent

disabled.

       26.     I disabled the use of the accused functionality in Android as discussed in

Appendix A.

       27.     The modification for experiments were restricted to two files:
               a.      frameworks/base/core/java/com/android/internal/os/RuntimeInit.java and

               b.      frameworks/base/core/jni/AndroidRuntime.cpp.

In summary, the zygote process which is the initial (master) virtual machine which manages the

virtual machine cloning (and thus sharing) was modified to call the new ‘exec’ method for the

new created process (clone), so it re-initializes the process as a fresh new virtual machine (over

running whatever was inherited from the master virtual machine) thus disabling the ’720 patent.

The modifications are detailed and shown in Appendix A.

       28.     All workspaces were compiled and loaded to the device following the directions

described at Google’s http://source.android.com/source/initializing.html.
       29.     The benchmarks used to test the performance of the workspaces were all Google

standard applications available in the repository, as listed above.

       30.     I tested the performance of the repositories by running them on the HTC Nexus

One with the two workspaces installed on two separate phones: (1) one phone to test the




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unmodified Android source code (where the functionality that Oracle accuses of infringing the

’720 patent is practiced and not disabled – labeled “Original (copy-on-write)” in Exhibit A) and

(2) another phone to test the modified Android source code (disabling the functionality that

Oracle accuses of infringing the ’720 patent – labeled “No VM Sharing” in Exhibit A).

       31.     I ran all benchmark applications on both phones.

       32.     The accompanying charts attached as Exhibit A records the results of runs of a

standard phone startup which launch all the default applications.

       B.      Mtask ClassLoading Test
       33.     I combined HelloWorld and MtaskClassLoading tests in a single application with

Google HelloActivity which says “hello” and does the class loading. That is to say, the

MtaskClassLoading test says “hello” and does class loading of a given class list. The test is

actually a modified version of android HelloActivity sample available under folder

‘development/samples/HelloActivity’ adding a call to MtaskClassLoading.main() method to do

the class loading.

       34.     The class list is made of Android relevant preloaded classes. That is, the list of

classes to load was taken from the Android preloaded class list.

       35.     Test code is attached as Exhibit B.

       36.     Logcat dumps are attached as Exhibits C and D.

V.     CONCLUSION
       37.     The performance benchmark testing shows as much as 40% memory savings

(Android uses 51MB instead of 86MB) and also saves .10 second per application launch time. In

other words, disabling the functionality that Oracle accuses of infringing the ’720 patent

increases the memory consumption by 70% (because 86 is 1.7 times 51).

       38.     Memory savings were 2MB per each running application. This becomes more

significant when executing many small widgets with a small amount of required unique memory

consumption. Moreover, the results demonstrate that for applications that need more of the




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